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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                             )
In re:                                       )   Chapter 11
                                             )
WARDMAN HOTEL OWNER, L.L.C.,                 )   Case No. 21-10023 (JTD)
                                             )
                             Debtor.         )
                                             )

                      ORDER SCHEDULING OMNIBUS HEARING DATE


                 IT IS HEREBY ORDERED that the following omnibus hearing date has been

scheduled in the above-captioned matter:

                 DATE                                   TIME

                 October 27, 2021                       2:00 p.m. prevailing Eastern Time


                 IT IS HEREBY FURTHER ORDERED that the hearing shall take place at the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,

Courtroom No. 5, Wilmington, Delaware 19801.




         Dated: September 2nd, 2021                 JOHN T. DORSEY
         Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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